Case 2:08-cv-00094-TSZ Document 128

Filed 05/22/09 Page 1of15

HONORABLE THOMAS S. ZILLY

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF WASHINGTON

AT SEATTLE

AIRBIQUITY INC., a Washington
corporation,

Plaintiff,
VS.

AT&T MOBILITY LLC, a Delaware limited
liability company; NEW CINGULAR
WIRELESS SERVICES, INC., a Delaware
corporation; and NEW CINGULAR
WIRELESS PCS LLC, a Delaware limited
liability company,

CIVIL ACTION NO. 2:08-CVv-00094-TSZ

PLAINTIFF'S SUPPLEMENTAL
BRIEF IN SUPPORT OF MOTION
FOR PARTIAL SUMMARY
JUDGMENT TO DISMISS
DEFENDANTS' AFFIRMATIVE
DEFENSE OF GOVERNMENTAL
IMMUNITY UNDER 28 U.S.C.

§ 1498(a)

ORAL ARGUMENT REQUESTED

Defendants.
PLAINTIFF'S SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PARTIAL Dorsey & WHITNEY LLP
SUMMARY JUDGMENT TO DISMISS DEFENDANTS! AFFIRMATIVE DEFENSE U.S. BANK CENTRE

OF GOVERNMENTAL IMMUNITY UNDER 28 U.S.C. § 1498(a)

2:08-cv-00094-TSZ,

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OF GOVERNMENTAL IMMUNITY UNDER 28 U.S.C. § 1498(a) - ii

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I. INTRODUCTION |

Defendants moved to continue the present motion, which has been pending and fully

briefed since December 15, 2008, so they could gather new evidence that their infringement of
Airbiquity’s patents was “with the authorization or consent of the Government.” Now, after five
months, they have dumped in the Court’s file approximately five hundred pages of documents
attached to the Declaration of Jeffery Baxter, and reference hundreds of pages previously filed
with the Declaration of Travis Thomas. Quantity does not equal quality. Filing telephone book
sized heaps of paper will not make governmental immunity a viable defense if the evidence does
not show that the Government authorized or consented to infringement of Airbiquity’s patents.
Defendants have cited nothing from the depositions they said they needed to oppose Airbiquity’s
motion. The arguments defendants make in their Supplemental Response and their “new”
evidence are merely cumulative of what they filed before.

Il. ARGUMENT

AT&T’s argument to avoid summary judgment relies on two premises. First, they
proffer proof that the FCC attended TTY Forum meetings, and they argue that the FCC’s
attendance equates to a requirement that AT&T adopt the 3GPP TS 26.226 specification (the
“Technical Specification’) that, when implemented in its handsets, results in infringement.
Second, they argue that the FCC’s insistence that the wireless industry comply with 47 CFR
§ 20.18(c) (the “TTY Mandate”)—which requires the wireless industry to implement a solution
for transmitting TTY signals on digital wireless networks—equates to a requirement that AT&T
adopt the Technical Specification. From these two premises, AT&T urges the Court to conclude

that it has proffered evidence of Governmental authorization or consent under Section 1498(a).

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Both arguments fail. The first is not supported—indeed, contradicted—by the evidence
that AT&T cites, and both the first and second arguments fail because even if supported, they do

not equate to a requirement that AT&T adopt the particular infringing technology at issue here.

A. The FCC’s Attendance at TTY Forum Meetings and Insistence on Compliance With
the TTY Mandate does not Equate to Authorization or Consent Under § 1498(a)

Defendants have filed two telephone book-sized stacks of paper allegedly supporting
their original and supplemental responses, however, they cite to only a few pages of these
voluminous documents. Defendants argue that this evidence proves “the Government’s direct
and pervasive involvement in the development and adoption of the Technical Specification”
(Supp. Resp. at 2:1-2); the FCC was “actively involved’ in the TTY Forum’s efforts to develop
solutions for providing TTY capability in wireless telephones (Supp. Resp. 2:3-5);” the FCC
“rejected proposed solutions that it did not like (2:5-6);” the FCC “specified the procedures by
which the Forum’s proposed solutions were tested (2:8-9).” In fact, however, review of the
pages that defendants actually rely upon reveals that they do not support these factual
propositions.! Many of the pages that defendants cite are merely TTY Forum attendance sheets,
showing only that an FCC representative attended without making any substantive contribution.

In fact, defendants’ evidence shows that while FCC representatives attended most TTY
Forum meetings, their actual participation in those meetings was minimal, typically no more
than introducing new FCC representatives and thanking the industry for submitting periodic

compliance status reports. Carlson Dec. 4/3 and Ex. B, H, K, L and N-S. When they did

1 To assist the Court in the review of the enormous pile of documents that defendants filed,
Airbiquity submits the Declaration of Mark S. Carlson, which attaches only the pages of their
filings that they actually cited, and highlights the paragraphs upon which they relied.

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participate in a meeting, the FCC representatives were careful to draw a distinction between
insisting that the industry comply with the “TTY Mandate,” and dictating technical solutions to
the industry. Carlson Dec. 43 and Ex. A (INV00006-7). The FCC remained “actively involved”
in the TTY Forum meetings in insisting that the industry comply with the TTY Mandate., but
without exception, it left development of technical solutions entirely to the wireless industry.

1. The FCC’s “Active Involvement” in the TTY Forum did not Extend to
Developing a Technical Solution for Transmitting TTY Signals

Defendants argue that the FCC was “actively involved” at TTY Forum meetings in
developing a technical solution for transmitting TTY signals on digital networks. Their point is
that the Government—through the FCC’s participation in the TTY Forum—required them to
adopt the Technical Specification that, when implemented in defendants’ wireless handsets,
infringes Airbiquity’s patents. According to defendants, the FCC’s alleged “active involvement”
in developing the technical solution during TTY Forum meetings satisfies the “authorization and
consent” prong of the test for application of Section 1498(a) governmental immunity.

The evidence that defendants rely upon to avoid summary judgment—TTY Forum
meeting reports, essentially, minutes of the meetings—does not support defendants’ argument.
Defendants present three and a half pages of bullet-pointed descriptions of TTY Forum meetings,
as evidence that “the FCC did not merely attend these meetings and passively observe the
Forum,” but rather “intended to take an active role in the group’s efforts.” Defs. Supp. Brf. at 8.
Almost all of defendants’ evidentiary citations to TTY Forum meeting minutes, however, are to
the attendance sheets of the meetings, and to the FCC report, in which the FCC representatives

typically said they had nothing to report, merely introduced new FCC representatives, thanked

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the industry attendees for submitting status reports, or made similarly non-substantive comments.
See, Carlson Dec. § 3, and exhibits thereto. It is true that at many of these meetings, the industry

representatives participated in technical discussions, however, the minutes of these discussions

establish that the FCC representatives did not participate in them. In fact, plaintiffs identified
only a single instance in which an FCC representative said anything during any of these technical
discussions, consisting of only two questions. Carlson Dec. {3 and Ex. J at INV0006481-84.

The evidence defendants cite in fact supports Airbiquity. It shows that the FCC attended
TTY Forum meetings, but its representatives preserved a distinction between “active
involvement” in insisting on compliance with Section 20.18(c), and meddling in the development
of a technical solution. The opening comments of FCC representative Won Kim made clear in
the first TTY Forum meeting cited by defendants that the FCC would have no role in

determining technical solutions for compliance with the TTY Mandate:

[The FCC] did not attempt to establish extensive technical standards
for E9-1-1 operation, noting that industry standards-setting committees
should address precise technical requirements for E9-1-1 compatibility
... [T]he industry should determine and establish standards to permit
interface between TTYs and wireless systems... .”

Baxter Dec. Ex. B (INV0000001-28 at 7) (Carlson Dec. Ex. A). In fact, the FCC considered and
expressly declined to undertake the role that defendants attempt to ascribe to them. In the FCC’s

original September 19, 1994 Notice of Proposed Rule Making, it reported:

We propose to adopt rules to improve the access of users of mobile radio
services to 911, particularly enhanced 911 services. While we do not
anticipate adopting extensive technical standards for enhanced 911
operation—industry standards-setting committees are better equipped to
address precise technical requirements for enhanced 911 compatibility—
we propose that general performance criteria be adopted.

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Thomas Decl. Ex. A at 14 of 39.440 (emphasis supplied). The FCC reaffirmed its passive role
with respect to what particular technologies should be adopted for compliance in its June 12,

1996 Report and Order and Further Notice of Proposed Rulemaking (Thomas Decl. Ex. C):

While we are taking action in this Order to ensure the provision of
911 and E911 services over certain commercial wireless
communications systems, and intend to closely monitor
implementation of our decision, we do not believe it would be
appropriate for the Commission to micromanage this process. We
confirm our tentative conclusion in the Notice [Thomas Ex. A,
above] that we should determine what capabilities must be achieved,
rather than attempting to promulgate extensive technical standards.

Id., at p. 26 of 91 (page 25 of the document) 73. Accordingly, the FCC directed the industry to
resolve technical issues, rather than impose any particular technical solution:

Covered carriers, in coordination with the public safety organizations,
are also directed to resolve certain E911 implementation issues,
including grade of service and interface standards through industry
consensus in conjunction with standard-setting bodies.

47 CFR Part 20 at 40349 (Thomas Decl. Ex. D at page 3 of 6) 8.

Defendants’ own evidence demonstrates that the FCC declined to involve itself in
developing or selecting the technical solution for compliance with Section 20.18(c). Even their
witness, Scott Prather, testified by declaration that the Technical Specification was “developed
and adopted” by “the wireless industry,” not the FCC. Prather Decl. {] 7-8 (Dkt. 67).
Consequently, its attendance at TTY Forum meetings does not equate to “authorization and
consent” to any technical solutions presented at those meetings.

2. The FCC did not Reject Any Technical Solution for Compliance

47 C.F.R. § 20.18(c) required that wireless carriers be capable of transmitting 911 calls
from individuals with speech or hearing disabilities through TTY terminals, and in its First

Report and Order the FCC made it clear that the industry must provide TTY access to 911

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emergency services, and required coordination with PSAPs (the public safety answering points,
where trained call center professionals handle 911 calls). First Report and Order at 4 49
(Thomas Decl. Ex. C) Thus, compliance with the TTY Mandate required at least (1)
transmitting and receiving TTY signals over digital wireless networks, (2) by PSAPs; (3) to
provide emergency 911 service for the speech and hearing impaired.

AT&T emphasizes that members of the wireless industry petitioned the FCC to
reconsider its order, and sought permission to rely on existing Short Message Service (“SMS”)
“text messaging” already built into many digital handsets for emergency 911 calls, rather than
having to develop a solution for TTY transmission over digital networks. Defs. Supp. Brief at 8-
9. These alternative technologies were referred to as “functional equivalents.” Jd. It is true that
the FCC denied the petition, however, the reason for the denial was not, as AT&T argues,
because the FCC had arrogated to itself the final word on which technologies should be adopted
to comply with Section 20.18(c). Rather, the FCC determined that the “functional equivalents”
would not comply with the TTY mandate, finding that they are “[n]ot an appropriate or practical
alternative for hearing and speech impaired persons in an emergency”:

because few PSAPs are configured to accept short messaging
services directly and not all PSAPs can accept ASCII type TTY
calls and other types of data calls.

Baxter Decl. Ex. Q, at INVO000055.

AT&T cites a single phrase in one sentence in one document, in which the FCC referred
tots “determination of the best means to accomplish compliance with the requirements of Section
20.18(c)” based on evaluation of certain test results. Defs. Supp. Brf. at 9. The author does not

explain what role the FCC was to play in this determination. AT&T has not produced a single

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document evidencing that the FCC ever attempted to make such a determination. In all
instances, the evidence shows that while the FCC remained actively involved in the TTY Forum
to require compliance with the TTY mandate, it consistently declined to dictate the specific
technical solution to be adopted for compliance.

3. The FCC did not Participate Substantively in any TTY Forum Discussion of
the Proposed Solution Ultimately Adopted as the Technical Specification

Defendants cite to twenty different TTY Forum meetings, documented by reports
containing minutes that reflect the contribution of each attendee. Of these meetings, they cite
only one instance in which any FCC representative said anything during a technical discussion.
Defendants describe the technical presentation at length in their Supplemental Response. In
summary, at the September 9, 1999 twelfth meeting of the TTY Forum, Ericsson representatives
described one possible technical solution, which included a “smart cable” between the TTY
terminal and the cellular handset. Baxter Decl. Ex. K (INV0006473-510 at 6481-85) (Carlson

Dec. Ex. J). In over four pages of discussion, only two questions appear from the FCC:

Comment: Dale Hatfield, FCC, observed that there has to be a
change to the switch since there has to be some identifier to mark
the beginning of the TTY call. Answer: The coding will be in the
subscriber profile. Question: Dale Hatfield then asked to
understand the call flow when placed from a landline. Answer:
The MSID identifies the mobile station as TTY capable and the
call will be routed through the function.

Id., at INV0006482-83 (emphasis supplied). These two questions are a far cry from an FCC
requirement that the Forum must adopt particular infringing technology.

AT&T also notes that the FCC subsequently sought public comment on the proposed
Ericsson solution. It then argues “[o]bviously, if the comments indicated the proposed solution

was unacceptable, the FCC would have required the GSM industry to modify the solution... .”

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Defs. Supp. Brf. at 11. This is sheer speculation as to what the FCC would have done if public
comment had been different than it apparently was. It seems more likely that the FCC would
have, consistent with its policy of leaving development of technical solutions entirely to the
wireless industry participants, forwarded any adverse comments to the industry for
consideration. In any event, the FCC’s solicitation of public comment does not equate to a
mandate that the wireless industry adopt Ericsson’s particular technical solution.

4, The FCC Made no Technical Contribution to the Development of Testing
Procedures for the Technical Specification

AT&T argues that “the FCC was also actively involved in developing testing procedures
for the proposed solution,” citing TTY Forum — 8, Draft Report (Baxter Decl. Ex. G) (Carlson
Decl. Ex. F). That document, however, shows only that the FCC was concerned about the pace
of testing, i.e., whether it would be completed in time for the deadline for compliance (Baxter
Decl. Ex. G at INV0000180, 182), and the opportunity for the public to participate in the tests
(Baxter Decl. Ex. G at INV0000181), not the specific protocols for tests to be performed.

5. The FCC did not “Push” the Industry to Implement any Particular
Technical Solution

AT&T argues that “the FCC actively monitored, evaluated, consented to, and even
pushed for the implementation of the Technical Specification as the industry standard for
providing TTY capability in GSM networks ....” Defs. Supp. Brf. at 13. In fact, they cite to
FCC comments approximately one year before the deadline for compliance that (1) express
concern that “the GSM community seems to still be debating implementation methods of the
TTY solution;” (2) oppose the lack of work “being done in the GSM standards bodies relating to

TTY support;” and (3) warn that “the GSM community will be carefully watched by the FCC to

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ensure full compliance with all mandates and orders.” Baxter Decl. Ex. P (at page 7 of 12).
AT&T misrepresents this warning by calling it a “push[] for the implementation of the Technical
Specification... .” Rather, the commission merely continued to insist upon timely compliance,

without imposing any particular technical solution.

B. | The FCC’s Requirement That Wireless Companies Comply With the TTY Mandate
does not Equate to a Requirement That a Particular Technology be Adopted

AT&T cites two cases, Bereslavsky v. Esso Oil Co., 175 F.2d 148 (4" Cir. 1949) and
Hughes Aircraft Co. v. United States, 29 Fed. Cl. 197 (1993) (both of which the Court has seen
in their prior briefing), for the proposition that “the Government may implicitly give
‘authorization or consent’ by requiring a party to engage in an allegedly infringing activity.”
Defs. Supp. Brf. at 13-14. The material facts in both Bereslavsky and Hughes Aircraft are not
present here, so their rationales do not apply.

In Bereslavsky, a patent owner sued the Defense Supplies Corp., which was acting as a
private purchasing agent for the United States military. The patent owner alleged infringement
of a patent covering aviation fuel that included a specific hydrocarbon, which was present in the
fuel that Defense Supplies Corp. sold to the Government. The Fourth Circuit found that Defense
Supplies Corp.’s contract with the Government included express specifications that “necessarily
resulted in a product containing the infringing ingredients.” Bereslslavsky, 175 F.2d. at 150.
Accordingly, the Fourth Circuit found that authorization and consent was implicit in the terms of
the procurement contract between Defense Supplies Corp. and the Government. Id.

Similarly, in Hughes Aircraft, the United States contracted with Rockwell International

Corp. to build GPS satellites. The Government procurement contract at issue required a satellite

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that embodied the invention in a patent assigned to plaintiff Hughes Aircraft. Rockwell’s
contract with the Government contained an express “authorization and consent” clause:

[t]he Government hereby gives its authorization and consent (without
prejudice to any rights of indemnification) for all use and
manufacture, in the performance of this contract . . . of any invention
described in and covered by a patent of the United States (i)
embodied in the structure or composition of any article the delivery
of which is accepted by the Government under this contract ....

Id. at 222. The court reasoned that the Government had “authorized” the manufacture of the
accused satellites within the meaning of Section 1498(a) “when Rockwell became contractually
bound to build a spacecraft embodying the [asserted] patent.” Jd. at 223.

AT&T’s reliance on these cases is wholly misplaced. Government contracts that
expressly specify procurement of an infringing article for the United States are not analogous in
any way to the facts here, where a Government bureau merely issued a regulation for an industry,
and required compliance, without specifying adoption of any specific technology. AT&T argues
that these cases are analogous, because “[t]he Government (1) required the GSM standard-setting
body to adopt a standard for providing TTY capability, and (2) required the Defendants to
implement the standard that the FCC approved as a result of its participation in the TTY Forum.”
Here, however, the FCC did not specify or require adoption of the particular Technical
Specification that, when implemented in wireless handsets on AT&T’s network, infringes
Airbiquity’s patents. Rather, the FCC left the choice of what technology should be adopted to
comply with the TTY Mandate entirely up to the industry. Thus, the Government did not
“authorize or consent” to infringement of Airbiquity’s patents by the industry in its effort to

comply with the TTY Mandate, and accordingly, Bereslovsky and Hughes Aircraft do not apply.

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DATED this 22™ day of May, 2009.
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Attorneys for Plaintiff Airbiquity Inc.

PLAINTIFF'S SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PARTIAL DorsEY & WHITNEY LLP
SUMMARY JUDGMENT TO DISMISS DEFENDANTS’ AFFIRMATIVE DEFENSE U.S. BANK CENTRE

1420 FIFTH AVENUE, SUITE 3400
OF GOVERNMENTAL IMMUNITY UNDER 28 U.S.C. § 1498(a) -11 SEATTLE. WA 98101-4010

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_ CERTIFICATE OF SERVICE

I, Paul T. Meiklejohn, certify that on October 30, 2008, the foregoing PLAINTIFF'S
SUPPLEMENTAL BRIEF IN SUPPORT OF MOTION FOR PARTIAL SUMMARY
JUDGMENT TO DISMISS DEFENDANTS’ AFFIRMATIVE DEFENSES OF
GOVERNMENTAL IMMUNITY UNDER 28 U.S.C. § 1498(a) and DECLARATION OF MARK
S. CARLSON in support thereof, was electronically filed with the Clerk of the Court using the
CM/ECF system and thereby served said documents on counsel for defendants AT&T
MOBILITY LLC, NEW CINGULAR WIRELESS SERVICES, INC., and NEW CINGULAR
WIRELESS PCS LLC via ECF-generated e-mail and notification.

DATED this 22™ day of May, 2009

/S/ Paul T. Meiklejohn
Paul T. Meiklejohn

PLAINTIFF'S REPLY MEMORANDUM IN SUPPORT OF MOTION FOR PARTIAL Dorsey & WHITNEY LLP
SUMMARY JUDGMENT TO DISMISS DEFENDANTS! AFFIRMATIVE DEFENSE U.S. BANK CENTRE

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